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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                            )
                                                    )
                      Plaintiff,                    )
                                                    )
       v.                                           )   C.A. No. 22-1466 (MN)
                                                    )
TESLA, INC.,                                        )
                                                    )
                      Defendant.                    )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Tesla, Inc.’s Initial Disclosures Pursuant

to Paragraph 3 of the Default Standard for Discovery were caused to be served on April 21,

2023, upon the following in the manner indicated:

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April 21, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on April 21,

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